                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:10CV156-1-W
                                     3:01CR66



JAMES EDGAR MUNSON,                 )
                                    )
            Petitioner,             )
                                    )
            v.                      )                        ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)


       THIS MATTER comes before the Court for an initial review of Petitioner’s Motion to

Vacate, Set Aside, or Correct Sentence (Doc. No. 1), filed April 2, 2010.

                                  PROCEDURAL HISTORY

       On May 7, 2001, Petitioner was one of eleven individuals named in a two-count Bill of

Indictment. (Crim. Case No. 3:01cr66: Doc. No. 3.) Count One charged Petitioner with

conspiracy to possess with intent to distribute at least 50 grams of cocaine base, 5 kilograms of

cocaine, and 1000 kilograms of marijuana in violation of 21 U.S.C. §§ 841 and 846. Count Two

charged Petitioner with various Conspiracy to Commit Money Laundering activities in violation

of 18 U.S.C. §§ 1956(a)(1)(A)(I), (a)(1)(B)(I), all in violation of 18 U.S.C. § 1956(h). On May

30, 2003, a jury returned a verdict of guilty as to both counts.1 (Crim. Case No. 3:01cr66: Doc.

No. 285.) On December 18, 2003, this Court sentenced Petitioner to 121 months’ imprisonment

on each count to run concurrently. (Crim. Case No. 3:01cr66: Doc. No. 338.) Judgment was


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          On the drug charge, Petitioner was convicted of conspiracy to possess with intent to
distribute at least 1000 kilograms of marijuana.


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entered on February 3, 2004. (Crim. Case No. 3:01cr66: Doc. No. 338.)

        On March 4, 2004, Petitioner filed a Notice of Appeal. (Crim. Case No. 3:01cr66: Doc.

No. 340.) On his first appeal, Petitioner argued that several statements made during the

Government’s opening and closing statements referred to questionable evidence, relied on

evidence not presented to the jury, and constituted impermissible vouching for the truthfulness

of the witness’s testimony. The Fourth Circuit rejected this claim. Petitioner also argued that he

was sentenced in violation of United States v. Collins, 415 U.S. 304 (4th Cir. 2005). The

Government agreed with Petitioner, and the Fourth Circuit, after determining that plain error

existed, affirmed Petitioner’s conviction and remanded Petitioner’s case for resentencing. The

appellate court declined to address Petitioner’s remaining arguments concerning the calculation

of drug quantities. United States v. Munson, 181 Fed. App’x 368 (4th Cir. 2006).

          On February 12, 2007, at his resentencing, Petitioner argued that his sentence could

not exceed sixty months, the statutory minimum for the drug conspiracy count. (Crim. Case No.

3:01cr66: Doc. No. 455 at 2-16.) This Court rejected this argument but granted his variance

request and sentenced him to 87 months’ imprisonment on the money laundering conspiracy

count and a concurrent term of 60 months’ imprisonment on the drug conspiracy count with

three years of supervised release on each count. (Crim. Case No. 3:01cr66: Doc. No. 455 at 16,

32-35.) On March 2, 2007, an Amended Judgment was entered. (Crim. Case No. 3:01cr66:

Doc. No. 440.)

       On March 9, 2007, Petitioner filed a Notice of Appeal. (Crim. Case No. 3:01cr66: Doc.

No. 442.) On appeal, Petitioner argued that the district court erred by finding a drug quantity

that was greater than that found by the jury beyond a reasonable doubt and which increased

Petitioner’s sentence beyond that authorized by the jury verdict. Petitioner also argued that the

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district court’s drug quantity calculations were erroneous. Finally, Petitioner argued that the

district court erroneously applied the guidelines in a de facto manner. On November 13, 2008,

the Fourth Circuit rejected Petitioner’s arguments and affirmed Petitioner’s sentence. United

States v. Munson, 299 Fed. App’x 297 (4th Cir. 2008). On April 20, 2009, the Supreme Court

denied Petitioner’s Petition for a Writ of Certiorari.

        On April 2, 2010, Petitioner timely filed a Motion to Vacate, Set Aside, or Correct

Sentence pursuant to 28 U.S.C. § 2255. (Doc. No. 1.) In his Motion to Vacate, Petitioner argues

that: 1) newly discovered false evidence establishes that his drug quantity was erroneously

calculated; 2) he received ineffective assistance from his resentencing and both appellate

counsel; 3) prosecutorial misconduct.

                                               ANALYSIS

I. INITIAL REVIEW AUTHORITY

        Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings . . .” in order to determine whether a petitioner is entitled to any

relief on the claims set forth therein. In the event it is determined that a petitioner is not entitled

to relief, the reviewing Court must dismiss the motion.

        Following such directive, this Court has reviewed Petitioner’s Motion to Vacate and the

pertinent record evidence. As hereafter explained, such review clearly establishes that Petitioner

is not entitled to any relief on his claims.

II. DRUG QUANTITY

        Petitioner alleges that he was “found guilty, sentenced, and subsequently resentenced,

based upon false evidence.” (Doc. No. 1-1 at 7.) More specifically, Petitioner alleges that

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Exhibit # 1 from his trial, which contained copies of the wire transfers from North Carolina to

California, is “a smoking gun that proves perjury, false quantities, and essentially unravels the

whole case.” (Doc. No. 1-1 at 8.) Petitioner focuses on IRS Agent Mitchell’s testimony

regarding this exhibit and in particular on Agent Mitchell’s testimony regarding a Master List

that he allegedly created from Exhibit # 1. Petitioner asserts that because he could not obtain a

copy of this Master List, Agent Mitchell’s testimony was false and that the prosecutors were

complicit when they failed to correct his testimony. Petitioner further asserts that his subsequent

review of Exhibit # 1 reveals that an improper dollar amount was calculated.

       Petitioner raised this argument – the court’s drug quantity calculations were erroneous –

on appeal. In support of this argument, Petitioner referred to various witness testimony and to

the contents of Exhibit # 1. (App. Case No. 07-4284: Appellant’s Brief; Appellants Pro se

Supp. Brief.) Petitioner also specifically referenced the testimony of Agent Mitchell. As

summarized by the Fourth Circuit, Petitioner’s “argument . . . hinges on his interpretation of a

government exhibit detailing Western Union wire transfers. He claims that certain transactions

in this exhibit should have been deducted from the total dollar amount, and he divides the

reduced dollar amount by an average price per pound.” United States v. Munson, 299 Fed.

App’x 297, 301 (4th Cir. 2008). In rejecting Petitioner’s argument, the Fourth Circuit held that

“[Petitioner’s] own testimony is the primary evidence supporting his interpretation of the

document and his attack on a single exhibit ignores all the other sources of information. As the

district court concluded at the first sentencing hearing, there was ‘abundant’ evidence that over

1000 kilograms of marijuana was reasonably foreseeable.” Id.

       It is well-settled that issues previously decided upon appeal from conviction cannot be

recast in the form of a § 2255 motion. Boeckenhaupt v. United States, 537 F.2d 1182, 1183 (4th

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Cir. 1976)(“[O]nce a matter has been decided adversely to a defendant on direct appeal it cannot

be relitigated in a collateral attack under Section 2255.”). A petitioner is not entitled to relitigate

issues in his § 2255 motion that were decided adversely to him on direct appeal. Consequently,

this claim is dismissed on that basis.

       Petitioner attempts to avoid this result by asserting that his present claim is based upon

new evidence. His assertion is wholly unavailing. A review of the criminal file reveals that

Exhibit # 1 and its contents were at issue during Petitioner’s trial, his resentencing, and on

appeal. It simply defies logic to refer to this exhibit as “new evidence.” Petitioner also argues

that he had great difficulty obtaining a personal copy of this exhibit. Such an argument does not

establish the wire transfers as new evidence. Moreover, at his resentencing hearing Petitioner

testified at length about the contents of the exhibit. (Crim. Case No. 3:01cr66: Doc. No. 454 at

25-27, 30.)

       Petitioner also tries to establish as new evidence the alleged discovery of the non-

existence of a document testified about by Agent Mitchell. More specifically, Petitioner alleges

that his inability to obtain, through a FOIA request, a copy of the Master List prepared by Agent

Mitchell is proof that it never existed and that the evidence used to convict him was false. In

support of his argument, Petitioner attaches Agent Mitchell’s cross-examination testimony on

pages 867 and 868 of the trial transcript. The list discussed in this testimony, however, is a list

that was apparently created by the defense. (Crim. Case No. 3:01cr66: May 28, 2003, Trial

Trans. at 867- 71.) In fact, Agent Mitchell specifically states that the list shown to him by

defense counsel was not produced by him. (Crim. Case No. 3:01cr66: May 28, 2003, Trial

Trans. at 867- 68.) Moreover, the trial transcript reveals that the summaries actually prepared by

Agent Mitchell were published to the jury. (Crim. Case No. 3:01cr66: May 27, 2003, Trial

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Trans. at 802-810.) Finally, the fact that in response to Petitioner’s Freedom of Information Act

request he was informed that a copy of the Master List could not be located does not, by itself,

establish that the document never existed or that Agent Mitchell testified falsely. Indeed, in light

of the publication of these summaries to the jury, the Court is perplexed how Petitioner can now

argue that these documents never existed. Petitioner’s claim is dismissed.

III. INEFFECTIVE ASSISTANCE OF COUNSEL

       A. Standard of Review

       Petitioner’s ineffective assistance of counsel claims are governed by the holding in

Strickland v. Washington, 466 U.S. 668, 687-91 (1984). In Strickland, the Supreme Court held

that in order to succeed on an ineffective assistance of counsel claim, a petitioner must establish

that counsel’s performance was constitutionally defective to the extent it fell below an objective

standard of reasonableness, and that he was prejudiced thereby, that is, there is a reasonable

probability that but for the error, the outcome would have been different. In making this

determination, there is a strong presumption that counsel’s conduct was within the wide range of

reasonable professional assistance. Id. at 689; Fields v. Attorney General of Md., 956 F.2d 1290,

1297-99 (4th Cir.), cert. denied, 474 U.S. 865 (1995). Petitioner bears the burden of proving

Strickland prejudice. Fields, 956 F.2d at 1297. If the petitioner fails to meet this burden, a

“reviewing court need not consider the performance prong.” Id. at 1290.

       Petitioner alleges that his first appellate counsel was ineffective for failing to challenge

the drug quantity attributed to Petitioner. A review of the record reveals that contrary to

Petitioner’s present contention, Petitioner’s counsel did raise the issue of drug quantity on

appeal. The Fourth Circuit, however, after finding plain error on another issue, declined to

address that issue. (Crim. Case No. 3:01cr66: Doc. No. 387 at 4.) Consequently, Petitioner has

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failed to establish that his appellate counsel’s performance was deficient. Petitioner’s claim on

this basis also fails because he cannot establish that he was prejudiced. That is, Petitioner has

not convinced the Court that any such claim would have been successful. Indeed, Petitioner

raised and argued this issue at length at his resentencing hearing and this Court was

unpersuaded. (Crim. Case No. 3:01cr66: Doc. No. 454 at 20-29; Doc. No. 455 at 27-29, 30.)

Petitioner also raised this issue during his second appeal and the Fourth Circuit considered and

rejected this issue. United States v. Munson, 299 Fed. App’x 297, 301 (4th Cir. 2008).

       Petitioner also alleges that his counsel at resentencing was ineffective because he failed

to pursue the quantity/perjury arguments repeatedly requested by Petitioner. Petitioner contends

that once his resentencing counsel read Petitioner’s arguments his counsel realized that the

proper presentation of the evidence would result in the prosecution of Agent Mitchell for

perjury. Petitioner states that his resentencing counsel then failed to present this issue at all.

Petitioner misrepresents the record. Drug quantity was a contested issue at Petitioner’s

resentencing. Indeed, Petitioner himself testified at length on this issue. (Crim. Case No.

3:01cr66: Doc. No. 454 at 20-28.) This Court specifically rejected Petitioner’s quantity

argument. (Crim. Case No. 3:01cr66: Doc. No. 455 at 32.) Petitioner’s ineffective assistance of

counsel claim on this basis is meritless.

       Petitioner also asserts that his resentencing counsel was ineffective because he argued an

untenable legal theory centered on § 5G1.2 of the sentencing guidelines. A review of the

sentencing transcripts reveals that while counsel ultimately did not prevail on this issue it was

not an untenable legal theory. Indeed, the issue was debated extensively and the resentencing

hearing was ultimately continued to a later date to allow the parties to fully brief this issue.

(Crim. Case No. 3:01cr66: Doc. No. 454 at 37.) Petitioner has failed to establish deficient

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performance or prejudice and this claim is dismissed.

       Petitioner also alleges that he received ineffective assistance of counsel during his second

appeal. More specifically, Petitioner argues that his appellate counsel failed to raise on appeal

the issues that Petitioner had informed him he wanted raised: 1) drug quantity, 2) Agent

Mitchell’s perjury, and 3) the Brady/Jencks violation that occurred when the Government

withheld the Master List. In addition, Petitioner alleges that his counsel was deficient for

continuing to argue “dead” law; for over inculpating him; and for refusing to amend his brief to

include Petitioner’s issues.

       Petitioner’s appellate counsel did argue that the drug quantity calculation was in error.

Petitioner’s counsel did not argue the other issues. Petitioner did, however, file an extensive pro

se supplemental brief containing these exact issues. In affirming Petitioner’s sentence, the

Fourth Circuit specifically noted that it had considered the issues raised by Petitioner in his pro

se supplemental brief and found them to be without merit. United States v. Munson, 299 Fed.

App’x 297, 301, n.5 (4th Cir. 2008). Given the Fourth Circuit’s consideration of and rejection of

these precise claims, Petitioner cannot establish the requisite prejudice for his ineffective

assistance of appellate counsel claim.

IV. PROSECUTORIAL MISCONDUCT

       Petitioner sets forth as his third claim his allegation that the Government failed to correct

false testimony when it appeared.2 Petitioner states that as evidenced by the FOIA response, no

Master List existed. Consequently, Petitioner asserts that Agent Mitchell’s testimony about this



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           Petitioner’s argument supporting this claim is a reference to see the arguments raised in
his first two claims. Such a reference is insufficient to support a claim. Out of an abundance of
caution, however, the Court will address Petitioner’s third claim.

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list was false. Petitioner asserts that because the Government knew that no list existed, the

Government knew the testimony was false but nevertheless failed to correct Agent Mitchell’s

testimony on this matter.

       As already set forth in this Order, it is well-settled that issues previously decided upon

appeal from conviction cannot be recast in the form of a § 2255 motion. Boeckenhaupt v.

United States, 537 F.2d 1182, 1183 (4th Cir. 1976)(“[O]nce a matter has been decided adversely

to a defendant on direct appeal it cannot be relitigated in a collateral attack under Section

2255.”). A petitioner is not entitled to relitigate issues in his § 2255 motion that were decided

adversely to him on direct appeal. Petitioner argued on appeal in his pro se supplemental brief

that Agent Mitchell testified falsely and the Government allowed him to testify in a false

manner. (App. Case No. 07-4284 at 9-18.) In affirming Petitioner’s sentence, the Fourth Circuit

specifically noted that it had considered the issues raised by Petitioner in his pro se supplemental

brief and found them to be without merit. United States v. Munson, 299 Fed. App’x 297, 301,

n.5 (4th Cir. 2008). Consequently, this claim is dismissed on that basis.

       Moreover, as stated previously, Petitioner is misreading the trial transcript. Petitioner’s

argument is premised on the fact that he could not obtain from the Government a copy of the

summaries referenced on pages 867 and 868 of the trial transcript. Petitioner overlooks the fact

that the list being referenced was not created by Agent Mitchell. Indeed, Agent Mitchell

specifically renounces authorship of the list shown to him by defense counsel. (Crim. Case No.

3:01cr66: May 28, 2003, Trial Trans. at 867- 68.) During his testimony on direct examination,

Agent Mitchell refers to summaries that he prepared when reviewing the wire transfers in

Exhibit # 1. These summaries, however, were published to the jury. (3:01cr66: Doc. No. 802,

804, 807, 808, 809.) Their existence is not in question. Moreover, the Court notes that a

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negative FOIA response is not wholly sufficient to establish the nonexistence of documents.

Petitioner provides no foundation for establishing the procedures for retaining documents.

                                         CONCLUSION

       The Court’s initial review of the Petitioner’s Motion to Vacate and the relevant record

evidence conclusively shows that Petitioner has failed to establish his claims. Therefore, Rule

4(b) of the Rules Governing Section 2255 Proceedings requires this Court to dismiss the instant

Motion to Vacate.

       THEREFORE, IT IS HEREBY ORDERED that:

       1. Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence (Doc. No. 1) is

DISMISSED; and

       2. It is further ordered that pursuant to Rule 11(a) of the Rules Governing Section 2254

and Section 2255 Cases, this Court declines to issue a certificate of appealability as Petitioner

has not made a substantial showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2);

Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy § 2253(c), a petitioner

must demonstrate that reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong)(citing Slack v. McDaniel, 529 U.S. 473, 484 (2000)).



                                                 Signed: June 7, 2010




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